       Case 4:12-cr-00041-JM         Document 411         Filed 06/24/16     Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA                                                              PLAINTIFF

v.                                 No. 4:12CR00041-03 JLH

REBECCA LUCILLE SPRAY                                                              DEFENDANT

                                            ORDER

       Pending before the Court is the defendant’s motion for continuance of the supervised release

revocation hearing currently set for Tuesday, June 28, 2016. Without objection, the motion is

GRANTED. Document #410.

       The hearing on the pending motion to revoke supervised release is hereby rescheduled for

TUESDAY, JULY 12, 2016, at 10:15 A.M., in Courtroom #4-D, Richard Sheppard Arnold United

States Courthouse, 500 West Capitol Avenue, Little Rock, Arkansas.

       IT IS SO ORDERED this 24th day of June, 2016.



                                                    _________________________________
                                                    J. LEON HOLMES
                                                    UNITED STATES DISTRICT JUDGE
